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Case 6:19-bk-10958-SC   Doc 1 Filed 02/06/19 Entered 02/06/19 10:32:24   Desc
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Case 6:19-bk-10958-SC   Doc 1 Filed 02/06/19 Entered 02/06/19 10:32:24   Desc
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